Case 2:04-cv-09049-DOC-RNB Document 4870-3 Filed 02/18/09 Page 1 of 5 Page ID
                                #:154357




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                                             #:154358



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     ;:                      CARTER BRYANT, an individual            ) Case No. CV 04-9049 SGL (RNx)
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                                           Plaitiff,                 )   Consolidated with
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     CI                                                              )   Case No. 04-09059
                       18
                             v.                                      )   Case No. 05-02727
                                                                     )
                       19    MAL, INC., a Delaware                   )   DISCOVERY MATTER
                             Corporation                             )
                       20                                            )   DECLARATION OF BRIAN WING
                                           Defendant.                )   IN SUPPORT OF MGA
                       21                                            )   ENTERTAINMENT INC. AND
                                                                     )   ISAAC LARAN'S ÖPPOSITION TO
                       22                                                MATTEL, INC.'S 2/10/09 MOTION
                                                                     )
                       23
                             AN CONSOLIDATED ACTIONS                 )   TO COMPEL RESPONSES TO
                                                                     )   INTERROGATORIS AND
                       24                                            )   PRODUCTION OF    DOCUMENTS
                                                                     )
                       25                                            )   (MGA Parties' Opposition to Mattei,
                                                                     )   Inc.'s 2/10/09 Motion to Compel;
                       26                                            )   Opposition to Separate Statement; and
                                                                     )   Declaration of Amman Khan filed
                       27                                                concurrently herewith)
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                                                                     )
      667362
                             DECLARATION OF BRI WING IN SUPPORT OF MGA PARTIES' OPPOSITION TO MATTEL, INC. 'S
                                                               21101/09 MOTION
          Case 2:04-cv-09049-DOC-RNB Document 4870-3 Filed 02/18/09 Page 3 of 5 Page ID
                                          #:154359



                  1                          DECLARATION OF BRIAN WING
                  2 I, Brian Wing, hereby declare as follows:
                  3 1. I am employed by MGA Entertainent, Inc. ("MGA") as its Executive

                  4 Vice President of Corporate Development. I have personal knowledge of al facts set
                  5 forth in this Declaration and, if caled as a witness, I could and would competently
                  6 testify as follows:
                  7 2. I have reviewed MatteI's Interrogatory No. 45 (Sixth Set), which asks,

                  8 among other things, MGA to identiy each Bratz product that MGA or its licensees
                  9 have sold, and to identify the revenue, costs, and profits associated with each such
   lL
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   .J             10 product.
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   ¡;             11 3. Based on my experience, as well as the fact that MGA does not maintain
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           ..     12 documents responsive to the types of information sought in Interrogatory No. 45 in
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           ~      13 the regular course of business, I estimate that it will tae five (5) employees
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~ ,,        ..    14 approximately eight (8) entire business days to provide supplemental informtion in
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   -        .D    15 response to MatteI's request. This equates to approximately 320 worker hours.
   ..      .J
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                  16 4. The most chalenging and time consumig process wil be to maualy
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   ..
   ..             17 combine all of the royalty reportng statements demonstratig the sales (by specific
   CI

                  18 product) made by the licensees, due to the fact that MGA does not maintai such
                  19 information in the regular course of business.
                  20

                  21        Executed ths 12th day of February, 2009, at Los Angeles, Californa.
                  22

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                                                                    B~ING
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                       DECLARATION OF BRIAN WING IN SUPPORT OF MGA PARTIES' OPPOSITION TO MATTEL, INC.'S
                                                           2/101109 MOTION
                     Case 2:04-cv-09049-DOC-RNB Document 4870-3 Filed 02/18/09 Page 4 of 5 Page ID
                                                     #:154360

                                                                   PROOF OF SERVICE

                        2 STATE OF CALIFORNIA

                        3 COUNTY OF LOS ANGELES
                        4 I am employed in the County of Los Angeles, State of Californa; I am over the age of i 8
                           and not a par to the within action; my business address is i 0250 Constellation Boulevard,
                        5 Nineteenth Floor, Los Angeles, California 90067.

                        6 On Februar i 8, 2009, I served the foregoing document described as:
                        7 DECLARTION OF BRI WING IN SUPPORT OF MGA
                                   ENTERTAINMENT, INC. AN ISAAC LAR'S OPPOSITION TO
                        8 MATTEL, INC.'S 2110/09 MOTION TO COMPEL RESPONSES TO
                                INTERROGATORIES AND PRODUCTION OF DOCUMENTS
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    a.
    .J                     on the interested paries to this action by placing a copy thereof enclosed in a sealed envelope
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                       10 addressed as follows:
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                       11                               PLEASE SEE ATTACHED SERVICE LIST
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m
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. m z"" D.                                  processing of correspondence for mailing with the United States Postal Service.
u 0 o .                13                   This correspondence shall be deposited with the United States Postal Service this
~ ~ ~ ~ ~
o i ~ ~ u                                   same day in the ordinar course of business at our Firm's offce address in Los
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" z ZZ"   ." ." ..     14                   Angeles, Californa. Service made pursuat to this paragraph, upon motion of a
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    OJ                       D              (BY OVERNIGHT DELIVERY SERVICE) I served the foregoing document by
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                       17                   Federal Express, an express service carier which provides overnght delivery, as
    l'                                      follows. I placed true copies of the foregoing document in sealed envelopes or
                       18                   packages designated by the express service carer, addressed to each interested
                                            par as set forth above, with fees for overnght delivery paid or provided for.
                        19
                             D              (BY PERSONAL SERVICE) I caused such envelope to be delivered by hand to
                       20                   the offces of the above named addressee.
                       21    ¡x             (BY EMAIL) I caused such documents to be delivered via email to the
                                            addressee( s).
                       22
                             D              (BY FACSIMILE) I caused such documents to be delivered via facsimile to the
                       23                   offces of the addressee(s) at the following facsimile number:

                       24           Executed this i 8th day of Februar, 2009, at Los Angeles, Californa.
                       25            I declare under penalty of perjur under the laws of the State of Californa that the above is
                             true and correct.



                                                                          ~
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         667362
                              DECLARATION OF BRIN WING IN SUPPORT OF MGA PARTIES' OPPOSITION TO MATTEL, INC.'S
                                                              2/10//09 MOTION
               Case 2:04-cv-09049-DOC-RNB Document 4870-3 Filed 02/18/09 Page 5 of 5 Page ID
                                               #:154361

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                       DECLARATION OF BRIN WING IN SUPPORT OF MGA PARTIES' OPPOSITION TO MATTEL, INC.'S
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